Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 1 of 26

EXHIBIT E
Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 2 of 26

ennsylvania

Supreme Co TO

The information collected on this form is used solely for court adiministration purposes. This form does not

supplement or replace the filing and service of pleadings or other papers as required by law or rules of court.

Commencement of Action:
(1 Complaint ] Writ of Summons EF) Petition

CO Transfer from Another Jurisdiction [7] Declaration of Taking

Lead Plaintiff's Name: Lead Defendant’s Name:
Jacob Leone and Danielle Leone Riddell, Inc.
Dollar Amount Requested: within arbitration limits
Are money damages requested? E] Yes E] No (check one) [EJoutside arbitration limits
Is this a Class Action Suit? CI Yes No Is this an MDJ Appeal? Yes El No

Name of Plaintiff/Appellant’s Attorney:
EF Cheek here if you have no attorney (are a Self-Represented [Pro Se] Litigant)

TORT (do not include Mass Tort) CONTRACT (do not inctude Judgments) | | CIVIL APPEALS
[J Intentional LE) Buyer Plaintiff Administrative Agencies
E) Malicious Prosecution [1] Debt Collection: Credit Card E] Board of Assessment
[7] Motor Vehicle [J Debt Collection: Other [1] Board of Elections
[7] Nuisance O Dept. of Lyanspostation
[-] Premises Liability F) SlatutoryS¥ppeak Qihe
Product Liability (does not include cn
nn as Etaoin ge se
: 5 eS
5 a Defamation [7] Employment Dispute: Other T12Seg Board = =
Doge: So
2 = U CIM
[7] Other: a = ~ 2 i
MASS TORT 3 ae 2s
1 Asbestos ~ Oo a
E] Tobacco *
[1] Toxic Tort - DES
5 ee REAL PROPERTY MISCELLANEOUS
[1] Other: [7] Ejectment [7 Common Law/Statutory Arbitration
. [7] Eminent Domain/Condemnation [7] Declaratory Judgment
1] Ground Rent [7] Mandamus
[7] Landlord/Tenant Dispute [-] Non-Domestic Relations
[] Mortgage Foreclosure: Residential Restraining Order
PROFESSIONAL LIABLITY [7] Mortgage Foreclosure: Commercial Quo Warranto
1 Dental C1 Partition 7] Replevin
1 Legal 7] Quiet Title 1 Other:
Medical [7] Other:
[0] Other Professional:

Updated 1/1/2011
Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 3 of 26

MAURI B, KELLY

Munley Law PC LBRO AWIAN ~
227 Penn Avenue LACKEIWANNA COUNTY
Scranton, PA 18503 2020 AUS 13 P 2: uo

570-346-7401

CLERK OF JUDICIAL
Anapol Weiss : RECORDS CIVIL DIVISION
8700 E. Vista Bonita Drive, Suite 268 -
Scottsdale, AZ 85255
480-515-4745

DANIELLE M. LEONE and : IN THE COURT OF COMMON PLEAS
JACOB M. LEONE, individually and as
Plenary Co-Guardians of the Estate and : OF LACKAWANNA COUNTY
Person of CALEB LEONE, and ;
CALEB LEONE, Individually,
607 South Broad Street
Jersey Shore, PA 17740
Plaintiffs :
v. boos CIVIL ACTION - LAW
: JURY TRIAL DEMANDED
RIDDELL, INC..
9801 West Higgins Road, Suite 800
a Rosemont, IL 60018
“ "“BRG SPORTS, INC.
1700 West Higgins Road, Suite 500

ox bueePlaiog JL 60018
“RIDDELL SPORTS GROUP, INC.

c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
"—RIDDELL/ALL AMERICAN SPORTS
CORPORATION
669 Sugar Lane
Elyria, OH 44035
And
4230 Paysphere Circle ;
Chicago, IL 60674 :
And No. 2 3
7501 Performance Lane : 0 C V ML 7
North Ridgeville, OH 44039 :

PRAECIPE FOR WRIT OF SUMMONS

TO THE CLERK OF JUDICIAL RECORDS:

sa

Case 4:21-cv-00800-MWB Document 1-5 Filed 05/03/21 Page 4 of 26

on

Please issue a Writ of Summons in the above captioned case.

MUNLEY LAW, P.C.

we [aia ene

‘Marion Munley, Esq.
PAID No. 46957
Attorney for Plaintiffs

ANAPOL WEISS

BY: Pind. bd

Larry E. Coben, Esq.
PA ID No. 17523

a ~
BY: (ar Wn Whore
Jd/Ann Niemi
PA ID No. 326595
Attorneys for Plaintiffs

Case 4:21-cv-00800-MWB

Munley Law PC
227 Penn Avenue
Scranton, PA 18503
570-346-7401

Anapol Weiss

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and
JACOB M. LEONE, individually and as
Plenary Co-Guardians of the Estate and
Person of CALEB LEONE, and
CALEB LEONE, Individually,
Plaintiffs
V.

RIDDELL, INC.
BRG SPORTS, INC.
RIDDELL SPORTS GROUP, INC.
RIDDELL/ALL AMERICAN SPORTS
CORPORATION

Defendants

Document 1-5 Filed 05/03/21

Au yEL| B- KELLY
neki COUNTY

my ppit OF JUDICIAL
e KWL DIVISION

IN THE COURT OF COMMON PLEAS

OF LACKAWANNA COUNTY

CIVIL ACTION - LAW
JURY TRIAL DEMANDED

No. 20 cv 3169

PRAECIPE TO REISSUE SUMMONS

TO THE CLERK OF JUDICIAL RECORDS:

Please reissue the Writ of Summons in the above captioned case.

de LAW, P.C.

BY:
[Marion Phd Esq.- PA ID No. 46957
Attorney for Plaintiffs
ANAPOL WEISS
Sant Cen
Larry E. Coben, Esq.- PA ID No. 17523
BY: afin [\igau,

Fo’Ann Niemi - PA ID No. 326595
Attormeys for Plaintiffs

|
Page 5 of 26
SHERIFF'S
Case S

CASE NO: 2020-03169 B
COMMONWEALTH OF PENNSYLVANIA * ee
COUNTY OF LACKAWANNA ‘

LEONE
vs.
RIDDELL
FEQURDS CIVE:
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County: :

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT ,;RIDDELL SPORTS GROUP INC C/O i
CORPORATE CREATIONS NETWORK by United States Certified Mail postage
prepaid, on the 17th day of September, 2020 at 0000:00 HOURS, at
3411 SILVERSIDE ROAD TATNALL BUILDING, STE 104

WILMINGTON, DE 19810 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with

r

The returned

receipt card was signed by RET'D BY P.O. UNABLE FORWARD on
00/00/0000

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing .00
Service .00 Brunaa Dovel
Affidavit .00 :
Surcharge .00 Deputy
00
00
Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

1-cv-00800-MWB Document 1-5" Filed 05/03/21 Page 6 of 26
Case £2 1-cv-BO860-MWE’ Document 1-5 Filed 05/03/21 Page 7 of 26
CASE NO: 2020-03169 P°

COMMONWEALTH OF PENNSYLVANIA ~
COUNTY OF LACKAWANNA

>

LEONE
VS.
RIDDELL
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT ,BRG SPORTS INC i

by United States Certified Mail postage

prepaid, on the 18th day of August ,2020 at 0000:00 HOURS, at

1700 WEST HIGGINS RD STE 500

DES PLAINES, IL 60018 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with ,

The returned
receipt card was signed by CAN'T READ THE NAME on
08/25/2020

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing .00
Service .00
Affidavit .00 ‘
Surcharge 00 Deputy
.00
.00
Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

case RT ch -BO860-MWE Gotument 15" Filed 05/03/21 Page aor 26
CASE NO: 2020-03169 P ‘

COMMONWEALTH OF PENNSYLVANTA
COUNTY OF LACKAWANNA .

LEONE
Vs.
RIDDELL
\
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT ,RIDDELL SPORTS GROUP INC i

by United States Certified Mail posta fe

prepaid, on the 18th day of August ,2020 at 0000:00 HOURS, a

C/O CORP SER CO 251 LITTLE FALLS DR

WILMINGTON, DE 19808 we foe
and attested copy of the attached WRIT OF SUMMONS . Together
with

y

The returned

receipt card was signed by PAUL SISOFO on
08/24/2020

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff

Docketing .00
Service .00 Cat Brenan Doreley.
Affidavit .00

Surcharge .00 Deputy
00
.00
Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
Ax Bis

Prothonotary

Case F2T chy-BO800-MWE Bocument 1-5" Filed 05/03/21 Page 9/of 26

CASE NO: 2020-03169 P,.
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF LACKAWANNA :

LEONE
vs.
RIDDELL
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT ,RIDDELL ALL AMERICAN SPORTS :
CORPORATION by United States Certified Mail postage
prepaid, on the 18th day of August ,2020 at 0000:00 HOURS, At
669 SUGAR LANE

ELYRIA, OH 44035 \La true
and attested copy of the attached WRIT OF SUMMONS . Together
with

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The returned

receipt card was signed by RET'D BY P.O. UNABLE FORWARD on
00/00/0000

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing 00
Service .00 fh ye 2S
Affidavit .00 (yok Brann drat
Surcharge .00 , Deputy ~
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Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

Case FT cy. dd800: MWB Déciment 1-5 Filed 05/03/21 Page 1d of 26

CASE NO: 2020-03169 P.
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF LACKAWANNA

LEONE
VS.
RIDDELL
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT ,RIDDELL/ALL AMERICAN SPOORTS ; J
CORP. by United States Certified Maj1 postage
prepaid, on the 18th day of August ,2020 at 0000:00 * OURS, at

4230 PAYSPHERE CIRCLE

CHICAGO, IL 60674 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with

f

The returned

receipt card was signed by CAN'T READ THE NAME on
08/24/2020

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing .00
Service .00
Affidavit 00 ade Brenan i) |
Surcharge .00 ‘ Deputy
.00
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Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

CASE NO:

Case 42 Tcv-dts0t!Mwe’ Dééument 1-5 Filed 05/03/21 Page ul of 26

2020-03169 P

COMMONWEALTH OF PENNSYLVANTA
COUNTY OF LACKAWANNA

LEONE

Vs.
RIDDELL
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna County
County, Pennsylvania, who being duly sworn according to law served the
within named DEFENDANT ,RIDDELL/ALL AMERICNA SPORTS , Lf
CORPORATION by United States Certified il postage
prepaid, on the 18th day of August ,2020 at 0000:00 HOURS, at

7501 PERFORMANCE LANE

N.RIDGEVILLE, OH 44039 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with

t

The returned

receipt card was signed by A,R. C191 on

08/24/2020

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing 00
Service 00
Affidavit 00 (vot. Bruna A tpeten,
Surcharge .00 —7T Deputy ¢
.00
.00
Paid by on 00/00/0000

Sworn and subscribed to before me

this

day of
A.D.

Prothonotary

CasthB®2TFc9- C6860 MWE: DGROMERt 15" Filed 05/03/21 Page 12 of 26

CASE NO: 2020-03169 P
COMMONWEALTH OF PENNSYLVANIA See mye
COUNTY OF LACKAWANNA

MAURI B. KELLY
LEONE. - LACKAWANNA COUNTY

vs. 1020 OCT -b
RIDDELL CLERK O

CPL.KERRY MCHUGH , Deputy Sheriff of ckawanna County

County, Pennsylvania, who being duly sworn according to law served the

within named DEFENDANT , RIDDELL SPORTS GROUP INC C/O t

CORPORATE CREATIONS NETWORK by United States Certified Mail postage

prepaid, on the 17th day of September, 2020 at 0000:00 HOURS, at
3411 SILVERSIDE ROAD TATNALL BUILDING, STE 104
WILMINGTON, DE 19810 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with 1

The returned
receipt card was signed by CAN'T READ THE NAME on
09/29/2020

Additional Comments:

Sheriff's Costs: So answers:
z Mark P. McAndrew, Sheriff
Docketing 00
Service .00 , .
Affidavit .00 j
Surcharge 00 Deput
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Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

Case 4:21-cv-00800-MWB

Munley Law PC
227 Penn Avenue
Scranton, PA 18503
570-346-7401

Anapol Weiss

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and
JACOB M. LEONE, individually and as
Plenary Co-Guardians of the Estate and
Person of CALEB LEONE, and
CALEB LEONE, Individually,
607 South Broad Street
Jersey Shore, PA 17740
Plaintiffs
Vv.

RIDDELL, INC.
9801 West Higgins Road, Suite 800
Rosemont, IL 60018
BRG SPORTS, INC.
1700 West Higgins Road, Suite 500
Des Plaines, IL 60018
RIDDELL SPORTS GROUP, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
RIDDELL/ALL AMERICAN SPORTS
CORPORATION
669 Sugar Lane
Elyria, OH 44035

And
4230 Paysphere Circle
Chicago, IL 60674

And
7501 Performance Lane
North Ridgeville, OH 44039

¢

IN THE COURT OF COMMON PLEAS

OF LACKAWANNA COUNTY

CIVIL ACTION - LAW
JURY TRIAL DEMANDED

No. DM OV FILA

PRAECIPE TO REISSUE SUMMONS

TO THE CLERK OF JUDICIAL RECORDS:

Document 1-5 Filed 05/03/21

Page 13 of 26
Case 4:21-cv-00800-MWB Document 1-5 Filed 05/03/21

Please reissue the Writ of Summons in the above captioned case.

MUNLEY LAW, P.C.

Marion Munley, Esq.
PA ID No. 46957
Attorney for Plaintiffs

ANAPOL WEISS

BY: Anne (Aware

Larry E. ‘Coben, Esq.
PA ID No. 17523

BY: \4 Nina hon.
So Ann Niemi
PA ID No. 326595
Attorneys for Plaintiffs

Page 14 of 26
Case?HEPTFEVSOBBOOMWB © DEERTRERPLYS Filed 05/03/21 Page 15 of 26

CASE NO: 2020-03169 P
COMMONWEALTH OF, PENNSYLVANIA

COUNTY OF LACKAWANNA

LEONE
vs.
RIDDELL
CPL.BRENDA GOOSLEY , Deputy Sheriff of Lackawanna Coxinty

county, Pennsylvania, who being duly sworn according to law gerved the

within named DEFENDANT »RIDDELL INC '

V
by United States Certified Mail postage

prepaid, on the 18th day of August ,2020 at 0000:00 HOURS, at

9801 WEST HIGGINS RD STE 800

ROSEMONT, IL 60018 , a true
and attested copy of the attached WRIT OF SUMMONS . Together
with

f

The returned

receipt card was signed by RET'D BY P.O. UNABLE FORWARD on

00/00/0000

Additional Comments:

Sheriff's Costs: So answers:
Mark P. McAndrew, Sheriff
Docketing 00
Service 00
Affidavit .00 Cpl. Brrnslrn A bpetlen,
Surcharge .00 Deputy g
.00
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Paid by on 00/00/0000
Sworn and subscribed to before me
this day of
A.D.

Prothonotary

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Case 4:21-cv-00800-MWB Document 1-5 Filed 05/03/21

Munley Law PC
227 Penn Avenue
Scranton, PA 18503
570-346-7401

Anapol Weiss

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and
JACOB M. LEONE, individually and as
Plenary Co-Guardians of the Estate and
Person of CALEB LEONE, and
CALEB LEONE, Individually,
607 South Broad Street
Jersey Shore, PA 17740

Plaintiffs

v.

RIDDELL, INC.
9801 West Higgins Road, Suite 800
Rosemont, IL 60018
BRG SPORTS, INC.
1700 West Higgins Road, Suite 500
Des Plaines, IL 60018
RIDDELL SPORTS GROUP, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808 ‘
RIDDELL/ALL AMERICAN SPORTS
CORPORATION
669 Sugar Lane
Elyria, OH 44035

And
4230 Paysphere Circle
Chicago, IL 60674

And
7501 Performance Lane
North Ridgeville, OH 44039

MAUR] B. KELLY

LACKAWANN

iA COUNTY

0 NOV AL A IG: 99

_CLERK
RECORDS

SF JUDICLAL
CIVIL DIVISION

IN THE COURT OF COMMON: PLEAS

OF LACKAWANNA COUNTY

CIVIL ACTION - LAW
JURY TRIAL DEMANDED

No.

AD CV 3164

PRAECIPE TO REISSUE SUMMONS

TO THE CLERK OF JUDICIAL RECORDS:

|
Page 16 of 26
wi < Case 4:21-cv-00800-MWB Document 1-5 Filed 05/03/21

Please reissue the Writ of Summons in the above captioned case.

MUNLEY LAW, P.C.

wuss

“Marion Munley, Esq.
PA ID No. 46957
Attomey for Plaintiffs

ANAPOL WEISS

I,

BY: \ a
eairy E. Coben, EsqS~

PA IDNo. PR

‘Yo Ann Niemi
PA ID No. 326595
Attorneys for Plaintiffs

AS

|
Page 17 of 26
Munley Law PC
227 Penn Avenue
Scranton, PA 18503
570-346-7401

Anapol Weiss

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and
JACOB M. LEONE, individually and as
Plenary Co-Guardians of the Estate and
Person of CALEB LEONE, and
CALEB LEONE, Individually,
Plaintiffs
Vv.

RIDDELL, INC.
BRG SPORTS, INC.
RIDDELL SPORTS GROUP, INC.
RIDDELL/ALL AMERICAN SPORTS
CORPORATION -

Defendants

RECORDS Sif},

Case 4:21-cv-O0800-MWB Document1-5 Filed 05/03/21

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LACKAWAINIA ESOyry

CLERE OF JUDICIAL

IN THE COURT OF COMMON PLEAS

OF LACKAWANNA COUNTY

CIVIL ACTION - LAW
JURY TRIAL DEMANDED

No. 20 ev 3169

CERTIFICATE OF SERVICE

It is hereby certified that a true and correct copy of Notice of Zoom Deposition of
Thomas Gravish, David Tomb, Terence Stets, Kenneth Williamson, and Eric Hess was served by

First Class Mail on the

Riddell, Inc.
1700 West Higgins Road, Suite 500
Des Plaines, IL 60018

BRG Sports, Inc.
1700 West Higgins Road, Suite 500
Des Plaines, IL 60018

Riddell Sports Group, Inc.

c/o Corporate Creations Network
3411 Silverside Road

Tatnall Bldg., Ste 104
Wilmington, DE 19810

|. day of February, 2021, upon the following:

Page 18 of 26
“4 Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 19 of 26

Riddell/All American Sports Corporation
669 Sugar Lane
Elyria, OH 44035

Riddell/All American Sports Corporation
4230 Paysphere Circle

Chicago, IL 60674

Riddell/Al! American Sports Corporation
7501 Performance Lane:
North Ridgeville, OH 44039

Phase une (

' Marion Munley
Case 4:21-cv-00800-MWB Document 1-5 Filed 05/03/21 Page 20 of 26

MARSHALL DENNEHEY MAURIB. KELLY
By: Benjamin A. Nicolosi, Jr., Esquire Attorney for Defendapta cK AWANNA COUNTY
Identification No. 69551 \

P.O. Box 3118 ; al MAY-8 A % 38

Scranton, PA 18505-3118
} LR OF JUDICIAL

DANIELLE M. LEONE and JACOB M. LEONE, ; COURT OF COMMGNSBDE 8 '6P'VISION
individually and as Plenary Co-Guardians of the : LACKAWANNA COUNTY - PENNSYLVANIA
Estate and Person of CALEB LEONE, and popes emcees
CALEB LEONE, individually :
: CIVIL ACTION ©
Plaintiffs :

Vv.

RIDDELL, INC., BRG SPORTS, INC., : JURY TRIAL DEMANDED

RIDDELL SPORTS GROUP, INC. c/o :

Corporation Service Company, RIDDELL/ALL

AMERICAN SPORTS CORPORATION ‘

: No: 20-CV-3169

Defendants i
ENTRY OF APPEARANCE

To: Clerk of Judicial Records — Civil

Kindly enter my appearance on behalf of all named Defendants. All American Sports
Corporation is incorrectly named as “Riddell/All American Sports Corporation.”

Respectfully submitted,

[3 Bry, QUecalore

Benjamin A. Ni€ojosi, Jr., Esquire
Marshall Dennehey -

Atty. LD. #69551

P.O. Box 3118

Scranton, PA 18505

(570) 496-4606

LEGAL/136496028.v1

Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 21 of 26

‘

DANIELLE M. LEONE and JACOB M. LEONE, : COURT OF COMMON PLEAS OF . -
individually and as Plenary Co-Guardianes of the : LACKAWANNA CO VANIA
Estate and Person of CALEB LEONE, and i it AUR BP REDLY: mvt

: LAC KAWAN NA COUN

CALEB LEONE, individually :
: CIVIL ACTION — 7]) HAR -8 AY. 38h

Plaintiffs
onc RK OF JUDICIAL
Vv. ECORDS CIVIL DIVISION *
RIDDELL, INC., BRG SPORTS, INC., : JURY TRIAL DEMANDED

RIDDELL SPORTS GROUP, INC. c/o
Corporation Service Company, RIDDELL/ALL
AMERICAN SPORTS CORPORATION
: No: 20-CV-3169
Defendants i

PRAECIPE FOR RULE TO FILE COMPLAINT
To: Clerk of Judicial Records

Kindly issue a Rule upon Plaintiffs to file a Complaint in the above-captioned matter
within 20 days from the date hereof or suffer a judgment of non pros.

Respectfully submitted,

[S/ (Detar GU cabo

Benjamin A. Nifolosi, Jr., Esquire
Marshall Dertxéhey

Atty. I.D. #69551

P.O. Box 3118

Scranton, PA 18505

(570) 496-4606

RULE TO FILE COMPLAINT

MAR - 8 2021

And now this day of , 2021, a Rule ts issued upon Plaintiffs
to file a Complaint within 20 days from the date hereof or Wh ance of no ro ol t

Clerk of Judicial Records

LEGAL/136495407.v1

Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 22 of 26

DANIELLE M. LEONE and JACOB ML ONE OURT OF COMMON PLEAS OF
individually and as Plenary Co-GubldibiRleg OG WANNA COUNTY - PENNSYLVANIA

Estate and Person of CALEB HONEA
CALEB LEONE, individually 2 :@ 38
WAR -8 A Gr ACTION

Plaintiffs @ epk oF JUDIGIE
necoRDS CIVIL DIVISION.

Vv.

RIDDELL, INC., BRG SPORTS, INC., : JURY TRIAL DEMANDED
RIDDELL SPORTS GROUP, INC. c/o _ i
Corporation Service Company, RIDDELL/ALL
AMERICAN SPORTS CORPORATION :
: No: 20-CV-3169

Defendants :

CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential

information and documents.
Respectfully submitted,

(51/4, GHecabcos

Benjamin A. Nigojosi, Jr., Esquire .
Marshall Dennehey

Atty. LD. #69551

P.O. Box 3118

Scranton, PA 18505

-(570) 496-4606

LEGAL/136496028.v1

Case 4:21-cv-00800:MWB Document 1-5 Filed 05/03/21 Page 23 of 26

DANIELLE M. LEONE and JACOB-M. LEONE, : COURT OF COMMON PLEAS OF
individually and as Plenary Co- Guarding Alte. RELA EAWANNA COUNTY - PENNSYLVANIA
Estate and Person of CALEB LEON ct COUNTY

CALEB LEONE, individually
ntl HAR -8 oihB Action

Plaintiffs — .
1
ERKO OF JUDICIA
: arcORDS cvIL DIVIS! JON”
RIDDELL, INC., BRG SPORTS, INC., i : JURY TRIAL DEMANDED

RIDDELL SPORTS GROUP, INC. c/o
Corporation Service Company, RIDDELL/ALL
AMERICAN SPORTS CORPORATION i
: No: 20-CV-3169
Defendants :

CERTIFICATE OF SERVICE

I, Benjamin A. Nicolosi, Jr., Esquire, hereby certify that on March 4, 2021, I served a true
and correct copy of an Entry of Appearance, Rule to File Complaint, Certificates of Compliance
and Service via first class United States Mail, postage paid, upon the following:

Marion Munley
Munley Law

227 Penn Avenue
Scranton, PA 18503

Respectfully submitted,

/s| Buren, Gecko,

Benjamin A. Nicolosi, Jr., Esquire
Marshall DenneHey

Atty. LD. #69551

P.O. Box 3118

Scranton, PA 18505

(570) 496-4606

LEGAL/136496028.¥1

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DANIELLE M. LEONE and JACOB M. LEONE, ; COURT OF COMMONIAURA S RELLY
individually and as Plenary Co-Guardians of the : LACKAWANNA COUNTYAN PENRQYVA NIA
Estate and Person of CALEB LEONE, and

CALEB LEONE, individually MM RAR IS, A & 19
CIVIL ACTION CLERK Of JUDICIAL
Plaintiffs t RECOR, IVIL DIVISION
Vv.
RIDDELL, INC., BRG SPORTS, INC., : JURY TRIAL DEMANDED

RIDDELL SPORTS GROUP, INC. c/o
Corporation Service Company, RIDDELL/ALL
AMERICAN SPORTS CORPORATION
: No: 20-CV-3169
Defendants :

CERTIFICATE OF SERVICE

I, Benjamin A. Nicolosi, Jr., Esquire, hereby certify that on March 10, 2021, 1 served a
true and correct copy of the executed Rule to File Complaint, Certificates of Compliance and
Service via e-mail and regular mail upon the following:

Marion Munley
Munley Law

227 Penn Avenue
Scranton, PA 18503

Respectfully submitted,

1 Lng GH icabaas 0

Benjamin A. Mi¢olosi, Jr., Esquire
Marshall Denrfehey

Atty. LD. #69551

P.O. Box 3118

Scranton, PA 18505

(570) 496-4606

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Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21 Page 25 of 26

DANIELLE M. LEONE and JACOB M. LEONE, : COURT OF COMMg MADRS “OEKELLY .
individually and as Plenary Co-Guardians of the : LACKAWANNA RUA YVABEMNRBUUVRINIA
Estate and Person.of CALEB LEONE, and

CALEB LEONE, individually dO MAR IS A 419
: CIVIL ACTION CLERK OF JUDICIAL
Plaintiffs RECORDS CIVIL DIVISION
v.
RIDDELL, INC., BRG SPORTS, INC., : JURY TRIAL DEMANDED

RIDDELL SPORTS GROUP, INC. c/o
Corporation Service Company, RIDDELL/ALL
AMERICAN SPORTS CORPORATION ;
: No: 20-CV-3169 —
Defendants :

CERTIFICATE OF COMPLIANCE
I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential

information and documents.
Respectfully submitted,

bl Lota FM ecobya:

fl, A. ae Jr., Esquire
Marshall Denne

Atty. LD. #69551

P.O. Box 3118

Scranton, PA 18505

(570) 496-4606

LEGAL/136668764.v1

Case 4:21-cv-00800-MWB Document1-5 Filed 05/03/21

Munley Law, PC

The Forum Plaza - 227 Penn Avenue
Scranton, PA 18503

570-346-7401

Anapol Weis

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and JACOB
M. LEONE, individually and as
plenary co-guardians of the Estate and
Person of CALEB LEONE and
CALEB LEONE, Individually,
Plaintiffs

Vv.

RIDDELL, INC.,
BRG SPORTS, LLC,
RIDDELL SPORTS GROUP, INC.,

wel OE ds

MAURFB. KELLEY __
LACKAWANNA COUNTY

2 APRAS PB

IN THE COURT OF COMMON PLEAS
OF LACK WANNA COUNTY

CIVIL ACTION
JURY TRIAL DEMANDED

RIDDELL/ALL AMERICAN
SPORTS CORPORATION and
Defendants NO, 20-CV-3169
CERTIFICATE OF SERVICE

It is hereby certified that a true and correct copy of Plaintiffs’ Complaint was served via
e-mail on the 13th day of April, 2021, upon the following:

Benjamin A. Nicolosi, Esq.

Marshall, Dennehey, Warner, Coleman & Goggin

PO Box 3118
Scranton, PA 18505-3118
banicolosi@mdweg.com

By:

MUNLEY LAW, P.C.

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Marion Munley
ID No. 46957
Attorney for Plaintiffs

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